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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


MARK GILBERT,                 )
                Plaintiff,    )
                              )      Civil Action
THE CITY OF CHICOPEE,         )      No. 3:16-cv-30024-MAP
WILLIAM JEBB, JOHN PRONOVOST, )
RICHARD J. KOS, et al.        )
              Defendant.      )


                          ORDER OF DISMISSAL

                             November 14, 2017


PONSOR, D.J.

    Pursuant to the court’s memorandum and order of this date

granting the defendant’s motions to dismiss, it is hereby

ordered that this case be closed.

   It is so ordered.



                              /s/ Michael A. Ponsor____
                              U.S. District Court Judge 
